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         FACEBOOK EXHIBIT Q

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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


                                           MDL NO. 2843
IN RE: FACEBOOK, INC. CONSUMER
PRIVACY USER PROFILE LITIGATION,           CASE NO. 3:18-MD-02843-VC-JSC

                                           HON. VINCE CHHABRIA
This document relates to:                  HON. JACQUELINE SCOTT CORLEY
                                           COURTROOM 4 – 17TH FLOOR
ALL ACTIONS                                SPECIAL MASTER, DANIEL GARRIE, ESQ.

                                           AMENDED ORDER REGARDING
                                           PRODUCTION OF ADI RELATED
                                           DOCUMENTS




        AMEDNED ORDER REGARDING PRODUCTION OF ADI RELATED DOCUMENTS
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                                        BACKGROUND

        1.     On September 8, 2021, Judge Corley issued an order granting Plaintiffs’ motion

to compel the production of materials in connection with Facebook’s app developer investigation

(“ADI”) that involved a review of all “apps that had access to large amounts of data before [Fa-

cebook] changed [its] platform policies in 2014.” See https://about.fb.com/news/2019/09/an-up-

date-on-our-app-developer-investigation/.

        2.     Pursuant to the order:

               In light of Facebook’s unchallenged public proclamations as to the business
               purpose of the ADI, the Court finds that the ADI served a dual purpose and
               that, as a general matter, documents generated as part of that investigation
               were not created because of litigation. On or before September 21, 2021, Fa-
               cebook shall produce the background and technical reports, audits and devel-
               oper interviews of the six exemplar apps chosen by the parties as Facebook
               has offered no special reasons why those particular documents are privileged
               other than what has been addressed. The parties shall work with the Special
               Master regarding production of additional materials consistent with the guid-
               ance offered by this Order. See Order Granting Motion to Compel ADI Mate-
               rials.

        3.     According to Judge Corley’s order, Facebook produced 11 documents related to

the ADI. Following this production, Plaintiffs raised multiple issues in connection with Face-

book’s ADI production and requested “all memoranda prepared by                       and/or

          related to ADI of all apps it investigated or investigated at Facebook’s direction, the

background and technical reports, audits, and developer interviews, and internal Facebook com-

munications regarding these materials (including those pertaining to the six exemplar apps).” See

Plaintiffs’ Email of September 24, 2021.

        4.     The parties subsequently met and conferred regarding Facebook’s ADI produc-

tion, but were unable to resolve the outstanding issues.




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        5.     On October 26, 2021, Special Master Garrie issued Order Regarding Outstanding

ADI Issues which ordered the parties to provide summaries of the outstanding ADI issues and

the parties’ respective positions.

        6.     On October 22, 2021, Plaintiffs submitted their initial statement. Plaintiffs argue

that pursuant to Judge Corley’s order, Facebook should produce the following in connection with

the ADI: (1) all memoranda prepared by                    or                 ; (2) all background

reports, technical reports, audits, and developer interviews; (3) all internal Facebook communica-

tions relating to items 1 and 2; (4) all communications with                 or

related to items 1 and 2; and (5) all communications with third-party app developers. See Plain-

tiffs’ Statement Concerning ADI Issues in Advance of Hearing. Plaintiffs also argued that Face-

book’s production of 11 reports relating to the six exemplar apps pursuant to Judge Corley’s or-

der was incomplete because Facebook’s privilege logs include references to additional reports

relating to these apps that were not provided. Id.

        7.     On October 22, 2021, Facebook submitted its initial statement. Facebook argues,

among other things, that (1) Facebook produced all documents ordered by Judge Corley; and (2)

the five categories of ADI-related documents Plaintiffs request go beyond the scope of Judge

Corley’s order. See Facebook’s Supplemental Submission Re: ADI.

        8.     On November 4, 2021, Plaintiffs submitted their response. Plaintiffs argue, among

other things that (1) Facebook should produce additional reports regarding the six exemplar apps

because additional reports were identified in Facebook’s privilege logs; and (2) Facebook failed

to show how the five categories of ADI-related documents Plaintiffs request are not “consistent

with the guidance offered by” Judge Corley’s order. See Plaintiffs’ Response Re: ADI.




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        9.     On November 4, 2021, Facebook submitted its response. Facebook argues, among

other things that (1) Facebook’s production pursuant to Judge Corley’s order is complete; (2)

Plaintiffs’ requests for all reports and memoranda for all apps or developers investigated in

phases two or three of the ADI and beyond the scope of Judge Corley’s order; and (3) there is no

basis for Plaintiffs to request ADI related communications because Judge Corley previously re-

viewed these communications in camera and did not order the production of such communica-

tions. See Facebook’s Response Re: ADI.

        10.    A hearing was held on December 4, 2021, regarding the parties’ submissions and

other information related to the ADI issues.

        11.    On December 8, 2021, Special Master Garrie issued an Order Regarding the Pro-

duction of ADI Documents.

        12.    On December 15, 2021, Facebook submitted a Motion for Reconsideration of

Special Master’s Order Regarding the Production of ADI Documents.

                                           FINDINGS

        13.    Special Master Garrie finds that Plaintiffs’ requests for all memoranda prepared

by                 or                 and all background reports, technical reports, audits, and

developer interviews in connection with the ADI are within the scope of Judge Corley’s order as

the order explicitly includes these categories of documents. See Order Granting Motion to Com-

pel ADI Materials (“Facebook shall produce the background and technical reports, audits and de-

veloper interviews of the six exemplar apps chosen by the parties”).

        14.    Special Master Garrie finds that Judge Corley’s order does not exclude non-attor-

ney internal Facebook communications, communications with                       or

     , or communications with third party app developers from the scope of ADI documents to be



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produced, but rather only addresses reports, audits, and interviews. Id. at 6 (“The documents dis-

cussed in this Order—background and technical reports, audits, and interviews prepared and con-

ducted by non-attorneys—are work product, not attorney-client privilege material.”). As a result,

Special Master Garrie finds that additional information regarding the relevance of such commu-

nications is necessary to determine whether such communications should be produced.

                                            ORDER

         15.   Facebook is to produce, on a rolling weekly basis, all memoranda prepared by

                or                 and all background reports, technical reports, audits, and non-

attorney developer interviews in connection with the ADI.1 Such production is to begin with the

reports for which related audits and non-attorney interviews are available.

         16.   No later than December 24, 2021, Facebook is to provide to Special Master Gar-

rie for in camera review, all ADI related communications pertaining to the six exemplar applica-

tions.

         17.   Facebook’s request to stay this order is denied.



IT IS SO ORDERED.



         December 20, 2021                           ______________________________
                                                     Daniel Garrie
                                                     Discovery Special Master




1
 Facebook is to update any applicable privilege logs as appropriate pursuant to the Privilege
Protocol.

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